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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                             Chapter 11

FTX TRADING LTD., et al.,1                                        Case No. 22-11068 (JTD)

         Debtors.                                                  (Jointly Administered)


FTX TRADING LTD. and MACLAURIN
INVESTMENTS LTD.,

                                     Plaintiffs,
                                                                   Adv. Pro. No. 23-50437 (JTD)
                            -against-

LOREM IPSUM UG, PATRICK GRUHN,
ROBIN MATZKE, and BRANDON WILLIAMS,                                Hearing Date: March 20, 2024 at 10:00 a.m. (ET)
                                                                   Obj. Deadline: March 7, 2024 at 4:00 p.m. (ET)
                                     Defendants.


                                            NOTICE OF MOTION

TO:      (a) the U.S. Trustee; (b) counsel to the Official Committee; (c) counsel to the Ad Hoc
         Committee of Non-US Customers of FTX.com; (d) the Securities and Exchange
         Commission; (e) the Internal Revenue Service; (f) the United States Department of
         Justice; (g) the United States Attorney for the District of Delaware; (h) counsel for the
         Joint Provisional Liquidators of FTX Digital Markets Ltd.; (i) the United States Attorney
         for the Southern District of New York; (j) counsel to the LI Parties, including Patrick
         Gruhn, Robin Matzke, Lorem Ipsum UG, Brandon Williams, Martha Lambrianou, and
         Marcel Lötscher; and to the extent not listed herein, (k) those parties requesting notice
         pursuant to Bankruptcy Rule 2002.

        On February 22, 2024, Alameda Research Ltd. and FTX Trading Ltd. (the “Plaintiffs”)
filed the Motion of Plaintiffs for Entry of an Order (I) Authorizing Plaintiffs to Enter into
Stipulation with Lorem Ipsum UG, Patrick Gruhn, Robin Matzke, Brandon Williams, Martha
Lambrianou, and Marcel Loetscher, (II) Approving the Stipulation, and (III) Granting Related
Relief (the “Motion”).



1   The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.

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       Objections, if any, to the relief requested in the Motion must be filed with the United
States Bankruptcy Court, 824 North Market Street, 3rd Floor, Wilmington, Delaware 19801, on
or before March 7, 2024 at 4:00 p.m. (ET).

       At the same time, you must also serve a copy of the objection upon the undersigned
counsel so as to be received no later than 4:00 p.m. (ET) on March 7, 2024.

     A HEARING ON THE MOTION WILL BE HELD ON MARCH 20, 2024 AT 1:00
P.M. (ET) BEFORE THE HONORABLE JOHN T. DORSEY, UNITED STATES
BANKRUPTCY COURT JUDGE, IN THE UNITED STATES BANKRUPTCY COURT FOR
THE DISTRICT OF DELAWARE, 824 NORTH MARKET STREET, 5 th FLOOR,
COURTROOM NO. 5, WILMINGTON, DELAWARE 19801.

     IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER
NOTICE OR HEARING.



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Dated: February 22, 2024                LANDIS RATH & COBB LLP
       Wilmington, Delaware
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                                        Matthew B. McGuire (No. 4366)
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                                        -and-

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                                        Counsel for Plaintiffs




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